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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


    ARTHUR BARRY SOTLOFF Individually and as
    Administrator of the Estate of STEVEN JOEL
    SOTLOFF; SHIRLEY GOLDIE PULWER, and
    LAUREN SOTLOFF,                                              Case No. 9:22-cv-80726 (DMM)

                           Plaintiffs,

           v.

    QATAR CHARITY, a Foreign Non-Profit
    Organization and QATAR NATIONAL BANK
    (Q.P.S.C.), a Foreign Multinational Commercial
    Bank,

                           Defendants.


                 DECLARATION OF HAROUT J. SAMRA IN SUPPORT OF
                QATAR CHARITY’S MOTION TO DISMISS THE COMPLAINT


          I, Harout J. Samra, hereby declare and state as follows pursuant to 28 U.S.C. § 1746:

          1.      I am an attorney with the law firm of DLA Piper LLP (US), located at 200 South

    Biscayne Boulevard, Suite 2500, Miami, FL 33131. I am in good standing and duly admitted to

    practice law in the State of Florida and the U.S. District Court for the Southern District of

    Florida. I make this declaration in support of Qatar Charity’s Motion to Dismiss the Complaint

    in the above captioned matter in which DLA Piper serves as counsel for Qatar Charity.

          2.      Attached hereto as Exhibit 1 is a true and correct copy of archival content from

    the United States Agency for International Development (“USAID”) entitled What We Do,

    Working in Crises and Conflict, Disaster Assistance, Malaysia (available at https://2012-

    2017.usaid.gov/crisis/malaysia).
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          3.      Attached hereto as Exhibit 2 is a true and correct copy of an excerpt from a

    USAID report entitled USAID-PAKISTAN Monthly Progress Report No. 46 concerning

    “Contract No: 391-I-00-10-01153-00, M&E Services: KP/FATA Reconstruction Programs,”

    dated June 2014 (available at https://pdf.usaid.gov/pdf_docs/PA00KGN2.pdf).

          4.      Attached hereto as Exhibit 3 is a true and correct copy of a retweet, from the

    official (and verified) U.S. Embassy in Qatar Twitter account, of a tweet from the official (and

    verified) Qatar Charity Twitter account, dated December 7, 2022.

          5.      Attached hereto as Exhibit 4 is a true and correct copy of a New Strait Times

    article entitled Unaccompanied Afghan Evacuee Children in Qatar Limbo, published on

    September 11, 2021 (available at https://www.straitstimes.com/world/middle-

    east/unaccompanied-afghan-evacuee-children-in-qatar-limbo).

          6.      Attached hereto as Exhibit 5 is a true and correct copy of an Associated Press

    News article entitled Qatar Emerges as Key Player in Afghanistan After US Pullout, published

    on August 30, 2021 (available at https://apnews.com/article/middle-east-afghanistan-qatar-

    6c1e9e4ef1a9f0c3d19eac20b9321339).

          7.      Attached hereto as Exhibit 6 is a true and correct copy of a certified English

    translation, together with a true and correct copy of the original Arabic language document, of a

    tweet by the U.S. Chargé d’Affaires to Qatar, Natalie A. Baker, from the official (and verified)

    @USAmbQatar Twitter account, dated January 24, 2022.

          8.      Attached hereto as Exhibit 7 is a true and correct copy of remarks given by

    President Biden and His Highness Sheikh Tamim Bin Hamad Al-Thani, Amir of the State of

    Qatar, before a bilateral meeting held at the White House on January 31, 2022 (available at

    https://www.whitehouse.gov/briefing-room/speeches-remarks/2022/01/31/remarks-by-


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    president-biden-and-his-highness-sheikh-tamim-bin-hamad-al-thani-amir-of-the-state-of-qatar-

    before-bilateral-meeting/).

          9.      Attached hereto as Exhibit 8 is a true and correct copy of remarks given by U.S.

    Secretary of State Antony Blinken and Qatari Deputy Prime Minister and Minister of Foreign

    Affairs, Mohammed bin Abdulrahman Al-Thani, at a signing ceremony and joint press

    conference for the U.S.-Qatar Strategic Dialogue held at the U.S. State Department on

    November 12, 2021 (available at https://www.state.gov/secretary-antony-j-blinken-and-qatari-

    deputy-prime-minister-and-minister-of-foreign-affairs-mohammed-bin-abdulrahman-al-thani-

    at-a-signing-ceremony-and-joint-press-availability-for-the-u-s-qatar-str/).

          10.     Attached hereto as Exhibit 9 is a true and correct copy of an article from The Hill

    entitled Biden Says He Will Designate Qatar as a Non-NATO Ally, published on January 31,

    2022 (available at https://thehill.com/regulation/international/592128-biden-says-he-will-

    designate-qatar-as-major-non-nato-ally/).

          11.     Attached hereto as Exhibit 10 is a true and correct copy of a letter from President

    Biden to the U.S. Speaker of the House and the President of the Senate, designating Qatar as a

    “Major Non-NATO Ally,” dated January 31, 2022 (available at https://www.whitehouse.gov/

    briefing-room/statements-releases/2022/01/31/letter-to-the-speaker-of-the-house-and-the-

    president-of-the-senate-on-designating-qatar-as-a-major-non-nato-ally/).

          12.     Attached hereto as Exhibit 11 is a true and correct copy of the document available

    at the hyperlink provided by Plaintiffs in their Complaint at paragraph 42 entitled Director of

    Central Intelligence Directive 3/22P (available at https://irp.fas.org/offdocs/dcid3-22.pdf).

          13.     Attached hereto as Exhibit 12 is a true and correct copy of an archived version of

    a document published by WikiLeaks entitled Qatar Commits USD 40 Million for UN


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    Operations in Gaza (ID No. 09DOHA314_a), dated May 12, 2009, and retrieved via the

    Wayback Machine on December 6, 2022 (available at https://web.archive.org/web/

    20221016174210/https://wikileaks.org/plusd/cables/09DOHA314_a.html).

          14.     Attached hereto as Exhibit 13 is a true and correct copy of a Reuters article

    entitled No Apparent Arab Plans to Push for Qatar-Linked U.N. Sanctions – Diplomats,

    published on June 14, 2017 (available at https://www.reuters.com/article/uk-gulf-qatar-

    sanctions-un-idAFKBN1952KV).

          15.     Attached hereto as Exhibit 14 is a true and correct copy of an Office of the

    Spokesperson for the Secretary-General of the United Nations daily press briefing, published on

    June 9, 2017 (available at https://www.un.org/press/en/2017/db170609.doc.htm).

          16.     Attached hereto as Exhibit 15 is a true and correct copy of a certified English

    translation, together with a true and correct copy of the original Arabic language document, of a

    tweet by Qatar Charity, from the official (and verified) @QCharity Twitter account, dated

    December 1, 2022.

          17.     Attached hereto as Exhibit 16 is a true and correct copy of a United Nations

    Relief and Works Agency (“UNRWA”) press release entitled On World Food Day UNRWA and

    Qatar Charity Promote Nutrition and Healthy Eating Habits, published on October 21, 2019

    (available at https://www.unrwa.org/newsroom/press-releases/world-food-day-unrwa-and-qatar-

    charity-promote-nutrition-and-healthy-eating).

          18.     Attached hereto as Exhibit 17 is a true and correct copy of a United Nations press

    release entitled Qatar Charity Sends 18 Trucks of Aid to Gaza, published on December 10, 2009

    (available at https://www.un.org/unispal/document/auto-insert-206456/).




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   Dated: December 9, 2022
          Miami, Florida
                                                  /s/ Harout J. Samra
                                                  Harout J. Samra




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